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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No: 22-cr-76 KMM/TNL


               Plaintiff,

v.
                                                           ORDER OF PRELIMINARY
                                                      DETENTION PENDING HEARING
                                                      PURSUANT TO BAIL REFORM ACT
Shevirio Kavirion Childs-Young (1),

               Defendant.
               _________________________________________________

               Upon motion of the United States, it is ORDERED that a detention/arraignment

hearing is set for June 16, 2022 at 10:30 a.m. before Magistrate Judge John F. Docherty, via

video conference. Pending this hearing, the Defendant shall be held in custody by the United

States Marshal and produced for the hearing.


Dated: June 14, 2022                                  s/ John F. Docherty
                                                      John F. Docherty
                                                      U.S. Magistrate Judge



If not held immediately upon defendant's first appearance, the hearing may be continued for up
to three days upon motion of the Government, or up to five days upon motion of the defendant.
18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142 are present.
Subsection (1) sets forth the grounds that may be asserted only by the attorney for the
Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for
the Government or upon the judicial officer's own motion if there is a serious risk that the
defendant (a) will flee; or (b) will obstruct or attempt to obstruct justice, to threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
